Case 4:07-cr-40055-KES          Document 2076         Filed 02/14/14       Page 1 of 2 PageID #: 9646

                                                                                       FILED
                                UNITED STATES DISTRICT COURT                            FEB 14 2014
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                                 DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION
  ***************************************************
                             *
  UNITED STATES OF AMERICA,  *   CR 07-40055-26
                             *
                  Plaintiff, *
                             *  ORDER DENYING
       -vs­                  * MOTION TO AMEND
                             *
  TYLER BROWN,               *
                             *
                  Defendant. *
                             *
  ***************************************************
         Defendant Tyler Brown filed a motion to amend (Doc. 2075), asking the Court to reconsider
  its denial of his motion for a reduced sentence pursuant to Federal Rule of Civil Procedure 60(b).


         In his Rule 60(b) motion, Defendant asked the Court to apply the Fair Sentencing Act
  retroactively and reduce his sentence from 120 months to 60 months, which is the Fair Sentencing
  Act's new mandatory minimum for the amo unt 0 f drugs attributed to Defendant. In denying the Rule
  60(b) motion, the Court explained that the more lenient penalties in the Fair Sentencing Act apply
  only to those offenders whose crimes occurred before the effective date ofthe Act (August 3, 2010),
  but who were sentenced after that date. See Dorsey v. United States, 132 S.Ct. 2321, 2331 (2012).
  Because Defendant was sentenced on April 2, 2010, before the Fair Sentencing Act became effective,
  the Fair Sentencing Act does not apply to him.


         Defendant cites United States v. Booker, 543 U.S. 220 (2005), for the proposition that a
  change in law will be given effect to cases that are on direct review, and he argues that he is entitled
  to retroactive application ofthe Fair Sentencing Act because his case was on direct appeal when the
  Act became effective. By its very terms, however, Booker makes its new rule (that the sentencing
  guidelines are not mandatory) applicable ''to all cases on direct review." Id. at 268. On the other
  hand, Congress did not address retroactivity when it enacted the Fair Sentencing Act. The
  retroactivity of the Fair Sentencing Act was finally decided by the Supreme Court in Dorsey and
Case 4:07-cr-40055-KES        Document 2076        Filed 02/14/14     Page 2 of 2 PageID #: 9647



  Dorsey makes it clear that the Fair Sentencing Act does not apply to Defendant. Thus, the Court is
  prohibited from giving Defendant the re1iefhe seeks. Accordingly,


          IT IS ORDERED that Defendant Tyler Brown's Motion to Amend Rule 60(b)
          (Docket 2075) is denied.

          Dated this 14th day of February, 2014.

                                       BY THE COURT:



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  ATTEST:
  JOSEPH HAAS,tfLERK

   BY..   ~4~
          (SA)(~




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